Case 2:21-cv-01102-DSF-MRW Document 110-1 Filed 11/15/22 Page 1 of 3 Page ID
                                #:2542



   1 Jonah A. Grossbardt (SBN 283584)
     Matthew L. Rollin (SBN 332631)
   2
     SRIPLAW
   3 8730 Wilshire Blvd., Suite 350
   4 Beverly Hills, CA 90211
     323.364.6565 – Telephone
   5 561.404.4353 – Facsimile
   6 jonah.grossbardt@sriplaw.com
     matthew.rollin@sriplaw.com
   7
   8 Joel B. Rothman (admitted pro hac vice)
   9 SRIPLAW
     21301 Powerline Road, Suite 100
  10 Boca Raton, FL 33433
  11 561.404.4350 – Telephone
     561.404.4353 – Facsimile
  12 Joel.rothman@sriplaw.com
  13
  14 Attorneys for Plaintiff
     JEFFREY B. SEDLIK
  15
  16                      UNITED STATES DISTRICT COURT
  17                     CENTRAL DISTRICT OF CALIFORNIA
  18
       JEFFREY B. SEDLIK,                   Case No.: 2:21-cv-01102-DSF-
  19                                        MRW
  20               Plaintiff,
                                            DECLARATION OF JOEL B.
  21        vs.                             ROTHMAN IN SUPPORT OF
  22                                        SRIPLAW’S MOTION TO
  23 KATHERINE VAN DRACHENBERG              WITHDRAW AS COUNSEL
     aka KAT VON D, KAT VON D, INC.,
  24 and HIGH VOLTAGE TATTOO, INC.,
  25
               Defendants.
  26
  27 I, Joel B. Rothman, declare and say:
  28



                                            1
Case 2:21-cv-01102-DSF-MRW Document 110-1 Filed 11/15/22 Page 2 of 3 Page ID
                                #:2543



   1         1.    I am an attorney licensed via Pro Hac Vice to practice before this
   2 Court, and I am counsel for Plaintiff Jeffrey B. Sedlik (“Sedlik”) in the above-
   3 captioned matter. I have personal knowledge of the facts stated herein, and if called
   4 as a witness, I could and would testify competently to the matters set forth herein.
   5         2.    Irreconcilable differences that preclude SRIP and its attorneys from
   6 continuing to represent Mr. Sedlik in this matter have arisen.
   7         3.    There has been a break-down in the attorney-client relationship
   8 between Sedlik and SRIP.
   9         4.    The relationship between Mr. Sedlik and SRIP and its attorneys has
  10 broken down making it impossible for SRIP and its attorneys to continue to
  11 represent Mr. Sedlik in this action.
  12         5.    There has been a breakdown in trust, confidence, and communication
  13 between attorneys and client.
  14         6.    Trial is scheduled for the near future and SRIP and its attorneys
  15 cannot effectively represent Mr. Sedlik at trial due to an insurmountable dispute
  16 that has arisen between counsel and Mr. Sedlik.
  17         7.    The motion is not made due to a failure to pay.
  18         8.    The engagement agreement with Mr. Sedlik permits SRIP and its
  19 attorneys to withdraw under these circumstances.
  20         9.    On November 15, 2022, I informed Defendants’ Counsel that SRIP
  21 could not continue as counsel for Mr. Sedlik and would need to withdraw as
  22 counsel.
  23         10.   Defendants’ Counsel informed SRIP that the defendants did not
  24 oppose SRIP’s withdrawal.
  25         11.   Defendants’ Counsel informed SRIP that they reserve the right to
  26 oppose any continuance of the trial, but that they did not oppose the motion to
  27 withdraw.
  28



                                                2
Case 2:21-cv-01102-DSF-MRW Document 110-1 Filed 11/15/22 Page 3 of 3 Page ID
                                #:2544



   1         12.     On November 15, 2022, I informed Mr. Sedlik that SRIP and its
   2 attorneys would be filing a motion to withdraw as counsel of record for Mr. Sedlik
   3 in this action.
   4         13.     Mr. Sedlik indicated that he intended to identify and retain counsel to
   5 advise him regarding the withdrawal by our firm and its attorneys.
   6         14.     Mr. Sedlik also stated that he did not consent to our firm withdrawing
   7 at this time.
   8         15.     Mr. Sedlik also requested that I make certain representations to the
   9 court on his behalf. I advised Mr. Sedlik that due to the breakdown of the attorney-
  10 client relationship I could not make further representations on his behalf.
  11         I declare under perjury under the laws of the United States of America that
  12 the foregoing is true and correct.
  13
  14 Executed on November 15, 2022.
  15
                                                      /s/ Joel B. Rothman
  16
                                                      Joel B. Rothman
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28



                                                  3
